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April 11", 2021
To the Judge Presiding Over Jutian Khater’s Case:

' Your Honor,

I was at work when I saw the news of my cousin Julian. I was
shocked and speechless. Out of everyone in the world, Julian
would be the last person I would think his could happen to.
Julian and I were born 8 months apart. We are first cousins and
were attached at the hip since birth. We were even baptized
together. We grew up across the street from each other, went to’
the same school, hung out with the same group of friends and
practically spent all day together. Julian has three brothers. Out
of all of the siblings, Julian was always the calmest, most
reasonable, pragmatic and always kept his brothers out of
trouble. He was always protecting all of us from bullies and
taking care of all of the younger ones of our group.

Julian attended Farleigh Dickinson University and graduated
with a degree in finance. He has always worked hard, never got
in trouble and is a contributing member of society. He joined our
local church group with me where we helped the homeless, went
on several religious retreats to help the people in need and held
many events to raise money for our church and other not for
profit organizations.

He has had many jobs with different areas of expertise and
experience which he excelled at and was commended by all his
employers. He has never been in trouble with the law. He is very
family oriented and makes a special effort to see his nephews
and our family even though for a time he was living in North
Carolina and Pennsylvania. He would make special trips just to
see us.

Julian a kind soul, loving person and is truly loved and
supported by our entire family, many friends and people in our
community. He is the last person on earth that would harm

Px even a bug.

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